Case 3:20-cr-00257-L Document 33 Filed 10/05/21 Pagelofi PagelD 73

IN THE UNITED STATES DISTRICT COURT --~ --—--—-____
FOR THE NORTHERN DISTRICT OF TEXAS © x, QO ERIGo Cour?

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UNITED STATES OF AMERICA § ; OCT -5 2001 |
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V. § CASE NO.: 3:20-CR-00257-L “*) * OSES TCO ar
Se aU
ANDREW PHILIP REICH § eae Be AM)

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

ANDREW PHILIP REICH, by consent, under authority of United States v. Dees, 125 F.3d 261 (Sth Cir. 1997),

has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) One of the Indictment
After cautioning and examining ANDREW PHILIP REICH under oath concerning each of the subjects mentioned in Rule
11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged is supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of
guilty be accepted, and that ANDREW PHILIP REICH be adjudged guilty of 18 U.S.C. § 2251(a), namely Production of
Child Pornography and have sentence imposed accordingly. After being found guilty of the offense by the district judge,

Date:

The defendant is currently in custody and should be ordered to remain in custody.

The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
if released.

O The Government does not oppose release.
O The defendant has been compliant with the current conditions of release.
0 I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any

other person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

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The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.

5th day of October, 2021

 

 

TBO SPATES MAGISTRATE JUDGE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(1)(B).
